     Case 8:25-bk-10282-SC              Doc 18 Filed 02/18/25 Entered 02/18/25 13:20:19             Desc
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                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                           Central District of California
6                                                                          BY bolte      DEPUTY CLERK


7
                                 UNITED STATES BANKRUPTCY COURT
8
                    CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION
9
10   In re:                                              Case No.: 8:25-bk-10282-SC

11   Coast Highway Ramfared Trust,                       CHAPTER 7

12                                                       ORDER DISMISSING CASE
13                                                       Date:      February 13, 2025
                                                         Time:      11:00 AM
14                                         Debtor(s).    Courtroom: 5C
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16             On February 13, 2025, the Court held a hearing on its order directing the
17   petitioning creditor, Andy Andalibian, to appear and show cause why the case should
18   not be dismissed, issued February 3, 2025 [Dk. 4] (“OSC”). Mr. Andalibian appeared,
19   pro se, and engaged in a discussion with the Court on the record.
20             The Court, having considered the OSC, the docket as a whole, and the
21   discussion with Mr. Andalibian on the record, finds good cause to dismiss this case for
22   the reasons stated on the record. All hearings are vacated.
23             IT IS SO ORDERED.
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25            Date: February 18, 2025

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